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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


UNITED STATES OF AMERICA,                                   MEMORANDUM DECISION AND ORDER
                                                            DENYING MOTION TO DISQUALIFY,
                            Plaintiff,                      DISMISS OR SUPPRESS
v.
                                                            Case No. 2:11-cr-501-DN-PMW
BRYCE PAYNE and SCOTT LEAVITT,
                                                            District Judge David Nuffer
                            Defendants.


           Defendant Bryce Payne moves to disqualify the United States Attorney’s Office for the

District of Utah or, alternatively to dismiss the indictment or suppress certain email

communications. 1 The United States responded, 2 and Mr. Payne filed a reply. 3 Defendant Scott

Leavitt joined in Defendant Payne’s motion after it was fully briefed. 4

           Defendants Payne and Leavitt (“Defendants”) argue that the prosecution team should be

disqualified because the prosecutors intentionally and improperly intruded into Defendants’

attorney-client relationship by obtaining several emails between the co-defendants and Philip

Gubler, General Counsel for iWorks, and two forwarded emails from Mr. Payne to the Ifrah Law

Firm. For the reasons discussed below, the motion is DENIED.




1
 Motion to Disqualify Utah United States Attorneys [sic] Office or Alternatively to Dismiss the Indictment or
Suppress the Communications (Motion), docket no. 684, filed October 9, 2015.
2
    Response to Motion to Disqualify, Dismiss, or Suppress (Response), docket no. 700, filed October 22, 2015.
3
 Reply to the United States’ Response to Motion to Disqualify Utah United States Attorneys [sic] Office or
Alternatively to Dismiss the Indictment or Suppress the Communications (Reply), docket no. 703, filed October 28,
2015.
4
  Motion to Join Defendant Payne’s Motion to Disqualify Utah United States Attorneys [sic] Office or Alternatively
to Dismiss the Indictment or Suppress the Communications, docket no. 726, filed November 2, 2015; Docket Text
Order Granting Motion for Joinder, docket no. 734, filed November 2, 2015.
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                                                 BACKGROUND

            The United States filed its original Evidentiary Notice (“Evidentiary Notice”) 5

identifying “potential co-conspirator statements it may seek to admit in this case pursuant to Rule

801(d)(2)(C) (authorized statements), (D) (statement of an agent or employee) and/or (E)

statement of a coconspirator) of the Federal Rules of Evidence.” 6 The Evidentiary Notice’s

Attachment A 7 is a list that provides descriptions of the proposed email exhibits. The United

States produced a copy of all the items on the list (“James Notice Items”) to defense counsel and

the court on June 5, 2015. 8 Defendants claim that several items included in Attachment A are

privileged attorney-client communications, and identify items 5, 131, 133, 134, 277, 279, 286,

and 323 (“Gubler Communications”) as “communications between several of the codefendants

in this case and Phil Gubler, General Counsel for iWorks.” 9 Additionally, after Mr. Payne

reviewed the James Notice Items on October 7, 2015, he noticed that items 341 and 342 were

two emails he had forwarded to attorneys at the Ifrah Law Firm in Washington, D.C. (“Ifrah

Communications”) when they “were providing counsel and legal advice for the production of

documents requested by the Federal Trade Commission from iWorks pursuant to the Civil

Investigative Demand by the Federal Trade Commission.” 10

            The prosecution explains that the eight numbered Gubler Communications identified by

Defendants, “only include four distinct communications from Gubler. The other four items are

5
 Evidentiary Notice Pursuant to Fed. R. Evid. 801(d)(2)(C), (D) and (E) (Notice) (Evidentiary Notice), docket no.
507, filed May 22, 2015.
6
    Id. at 1-2.
7
    Evidentiary Notice Attachment A (list), docket no. 507-1, filed May 22, 2015.
8
 Motion at 2; email from Robert Lunnen, AUSA, to Defendants’ counsel (June 5, 2013), docket no. 693-1, filed
under seal October 13, 2015.
9
    Motion at 3. These items will be identified as Gubler Communications.
10
  Id. at 2; Payne Declaration, docket no. 693-2, filed under seal October 13, 2015. These two items will be
identified as Ifrah Communications.



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either complete duplicates of the particular communication, or later emails in a chain which

include the particular communication.” 11 Specifically, James Notice Items 131, 133, and 134 are

all copies of the same email chain communication and James Notice Items 277, 279, and 286 are

all copies of another email communication. Further, the United States notes that James Notice

Item 23 “includes the same Gubler email as nos. 277, 279 and 286, but omits the attached draft

merchant account agreement.” 12 The United States filed a Revised Attachment A (Revised

Attachment A) to its October 2, 2015 Response to Motion for a James Hearing. 13 Revised

Attachment A has approximately 150 fewer items than the first filing and it does not include

items 133, 134, 341 or 342.

                                     GUBLER COMMUNICATIONS

            On July 26, 2013, in the District of Nevada, United States Magistrate Judge George

Foley, Jr., held a hearing in Federal Trade Commission v. Johnson (“FTC case”) 14 “on the

Emergency Motion for an Order allowing the FTC to review documents and information for

which the defendants had waived privilege.” 15 At the hearing, Judge Foley granted the FTC’s

motion 16 and ruled that “once the party has put into issue confidential communications, or its

communications with its counsel on a subject matter, then the privilege is waived as to all . . .

communications relevant to that subject matter.” 17 Accordingly, the assertion of an advice of


11
     Response at 2-3
12
     Id. at 2 n.2.
13
  Response to Motion for James Hearing and Evidentiary Proffer on Admissibility of Out-of-Court Statements,
docket no. 671, filed under seal October 2, 2015; redacted version, docket no. 669-1, filed October 5, 2015. Revised
Attachment A, docket no. 671-1, filed under seal October 2, 2015.
14
     Case No. 2:10 CV 2203 (D. Nev.) (FTC case)
15
  Transcript of Emergency Motion Hearing (Motion Hearing Tr.) 2:20-23, July 26, 2013, Response Attachment B,
docket no. 700-2.
16
     Id. 19:24-20:3.
17
     Id. 15:12-16.



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counsel defense by the iWorks defendants in the FTC case resulted in a waiver of attorney-client

privilege relating to communications between Mr. Gubler and the iWorks defendants, including

all Gubler Communications identified by Defendants in this motion.

            Shortly after Judge Foley’s ruling, Phillip Gubler was deposed by the iWorks defendants

in the FTC case on August 5, 2013. 18 Those attending Mr. Gubler’s deposition included iWorks’

counsel, other FTC case defendants, and the prosecutor from United States Attorney’s Office for

the District of Utah. 19 James Notice Items 133/134 (the same email item) and 323 were

referenced and marked as deposition exhibits 1203 and 1204, respectively, without objection,

while the federal prosecutor in the Utah criminal case was present. 20 Based on Judge Foley’s

earlier ruling and the presence of other parties (including the prosecution) participating in Mr.

Gubler’s deposition, privilege was waived as to any information or communication used or

disclosed at the deposition.

            On September 23, 2015, Judge Foley entered an order in the FTC case on FTC

defendants’ motion to seal certain exhibits to their Opposition to Plaintiff’s Motion for Summary

Judgment. (“FTC 1666 Order”). 21 In the FTC 1666 Order, the documents requested to be sealed

are referred to by Motion to Seal (MTS) numbers, for tracking by the court. 22 MTS numbers 755

and 756 correspond to Gubler deposition exhibits marked 1203 and 1204, respectively (the same

documents as James Notice Items 133/134 and 323, respectively). 23 Judge Foley allowed these

18
     Gubler Dep., August 5, 2013, Response Attachment C, docket no. 700-3.
19
  Id. at 2-3. “On April 11, 2013, Magistrate Judge Foley had issued an order in the FTC case permitting the District
of Utah U.S. Attorney’s Office to attend and monitor all civil depositions. (FTC Case Doc. 941).” Response at 4 n.3.
20
     Gubler Dep. 144-49.
21
  Order, Case No. 2:10-cv-2203-MMD-GWF (D. Nev.) Doc. No. 1666, entered September 23, 2015, Response
Attachment E, docket no. 700-5 (FTC 1666 Order).
22
     Id. at 2.
23
  Exhibit A to [FTC defendants’] Renewed Motion to File Under Seal (relevant excerpt pp. 12-13), Response
Attachment F, docket no. 703-2, filed under seal October 23, 2015.



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to be filed under seal in the FTC case because the FTC did not object. 24 Defendants urge that

“[i]t should be inferred the Federal Trade Commission recognized these documents as subject to

the attorney-client privilege.” 25 No inferences will be made from the language in the order. The

FTC 1666 Order does not state that the items are privileged and Judge Foley did not find that

they were privileged. These specific items, marked as exhibits used in the Gubler deposition,

were sealed because there was no objection to sealing them.

           In the same FTC 1666 Order, Judge Foley further clarified that the iWorks defendants

“waived the privilege by marking the exhibits in the depositions.” 26 Consequently, Defendants

waived privilege to items marked and used in Mr. Gubler’s deposition, including James Notice

Items 133/134 and 323 marked as exhibits 1203 and 1204 in the Gubler deposition and privilege

has also been waived for James Notice Item 131, which is the same email as James Notice Items

133/134.

           Waiver of privilege as to attorney-client email communications was addressed in the

Notice of Treatment of Attorney-Client Materials (“Notice of Treatment”) filed by the United

States. 27 The Notice of Treatment included a description of the protocol the United States used to

segregate potentially privileged material, and included a list of attorney names whose

communications were sequestered prior to review by the prosecution team. The names were

determined in consultation with the FTC counsel, based on their familiarity with the civil

litigation prior to the seizure of the email databases. 28 The name “Phillip Gubler” was included

in the list of attorney names. The Notice of Treatment specifically advised Defendants that

24
     FTC 1666 Order at 2-3.
25
     Reply at 3.
26
     FTC 1666 Order at 3.
27
     Docket no. 363, filed March 11, 2014.
28
     Notice of Treatment at 5-7; Notice of Treatment Attachment D, docket no. 363-4.


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           the deposition of Mr. Gubler and any attachments, are not subject to privilege
           because any privilege has been waived.
                  The defense has waived any attorney-client privilege because a court order
           from the District of Nevada, allowed the presence of third-parties at depositions.
           (Attachment A). Additionally, the Nevada court also concluded that the
           defendants had waived any claims to attorney-client privilege with respect to
           Gubler, because they had asserted an advice-of-counsel defense. (Attachment
           B). 29

           In the nearly 21 months since the filing of the Notice, Defendants did not file a response

or objection to the Notice, and failed to timely assert any privilege in communications between

themselves and Gubler. Having failed to timely assert the privilege, Defendants have waived it. 30

Additionally, an in camera review of James Hearing Items 5, 23, 277, 279, and 286 revealed no

basis for a privilege claim.

                                        IFRAH COMMUNICATIONS

           Defendants complain that the prosecution reviewed two emails that Mr. Payne forwarded

to attorneys at the Ifrah Law Firm in Washington, D.C. when they “were providing counsel and

legal advice for the production of documents requested by the Federal Trade Commission from

iWorks pursuant to the Civil Investigative Demand by the Federal Trade Commission.” 31 James

Notice Item 341 is an email captioned “FW: Incentivized traffic” forwarded by Bryce Payne to

three people at ifrahlaw.com. 32 James Notice Item 342 is an email captioned “FW: Corp

Information” forwarded by Bryce Payne to three people at ifrahlaw.com. 33



29
     Notice of Treatment at 7-8.
30
  United States v. Ary, 518 F.3d 775, 784 (10th Cir. 2008) (defendant did not assert in a timely fashion and waived
his attorney-client privilege for documents seized pursuant to a search warrant when he waited six weeks to assert
such protection).
31
     Motion at 2; Payne Declaration, docket no. 693-2, filed under seal October 13, 2015.
32
   Email from Bryce Payne to Amy Lloyd, Jeff, and Jeff Hamlin, Ifrah Law (October 8, 2010), docket no. 693-2,
filed under seal October 13, 2015.
33
  Email from Bryce Payne to Amy Lloyd, Jeff, and nkardell, Ifrah Law (October 8, 2010), docket no. 693-2, filed
under seal October 13, 2015.



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            The United States explains that its capture and review of these emails “was inadvertent,

not purposeful.” 34 As explained in the Notice of Treatment, a protocol was used to sequester

potentially privileged materials from the seized email databases prior to review by the

prosecution. “Included in the list of attorney names were ‘Jeff Ifrah’ and ‘Amy Loyd, Ifrah

PPLC’.” 35 Because the filtering process was specific, any names spelled incorrectly or variations

of the names may not have been properly filtered, such as Amy Lloyd’s name that was

misspelled as “Loyd” in the filtering process.

            Additionally, the prosecution’s review of the two emails was “inadvertent and limited.” 36

The emails’ subject lines suggested that the contents dealt with issues involved in the criminal

case, and that is why the United States included the emails in the first James Notice “without

serious review or analysis.” 37 Further, an in camera review of the two emails revealed no basis

for a privilege claim. And as Defendants’ motion requests, the prosecution has withdrawn these

specific emails from consideration or use at trial.

            As with the Gubler emails, Defendants have waived privilege by failing to timely assert

it. Defendants have had notice that the prosecution possessed the two emails since June 6,

2015. 38 More than four months later, Defendants raised the issue of privilege for the first time in

the current motion. Under Ary, Defendants waived attorney-client privilege when they failed to

timely assert the privilege. 39



34
     Response at 17.
35
     Id. at 8.
36
     Id. at 17.
37
     Id.
38
  Motion at 2 (“the materials were produced on June 5, 2015, and obtained by defense counsel on or about June 6,
2015”).
39
     Ary, 518 F.3d at 784 (citing United States v. de la Jara, 973 F.2d 746, 749 (9th Cir.1992)).



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                                          ORDER

           IT IS HEREBY ORDERED that Defendants’ Motion 40 is DENIED.


           Signed December 2, 2015.

                                          BY THE COURT



                                          ________________________________________
                                              District Judge David Nuffer




40
     Docket no. 684.



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